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                             No. 24-10019

 In the United States Court of Appeals for the Eleventh Circuit

  MERRITT ISLAND WOODWERX, LLC, and TRUE TOUCH SERVICES, LLC,
     individually and on behalf of all others similarly situated,
                       Plaintiffs-Appellees,
                                    v.
                      SPACE COAST CREDIT UNION,
                         Defendant-Appellant.


 Appeal from the U.S. District Court for the Middle District of Florida,
               No. 6:23-cv-01066, Hon. Paul G. Byron


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April 26, 2024
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CERTIFICATE OF INTERESTED PERSONS AND CORPORATE
             DISCLOSURE STATEMENT

     Under Federal Rule of Appellate Procedure 26.1 and Eleventh

Circuit Rule 26.1-1, Appellees concur in Appellant’s Certificate of

Interested Persons and Corporate Disclosure Statement and add one

additional person, an attorney for Appellees, as an interested person:

     Miller, Vess A.

                                     /s/Vess A. Miller
                                     Vess A. Miller
                                     Counsel for Appellees




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          STATEMENT REGARDING ORAL ARGUMENT

     Appellees believe that oral argument is unnecessary because the

very same issues involved in this case were recently resolved in

Appellees’ favor by a unanimous panel of this Court in Bedgood v.

Wyndham Vacation Resorts, Inc., 88 F.4th 1355 (11th Cir. 2023), and

the record in this case is not voluminous. However, if the Court believes

that oral argument would assist in the decision of this case, Appellees’

counsel would be pleased to participate in oral argument.




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                           INTRODUCTION

     This Court’s recent decision in Bedgood v. Wyndham Vacation

Resorts, Inc. (Bedgood II), 88 F.4th 1355 (11th Cir. 2023) , disposes of

this appeal. In Bedgood II, this Court affirmed denial of a motion to

compel arbitration in nearly identical circumstances, where, as here,

the American Arbitration Association (“AAA”) declined to administer

arbitrations with one defendant’s customers because of that defendant’s

failure to comply with AAA’s notification and registration policies, and

where the AAA’s Rules expressly permit parties to sue in court if AAA

declines arbitration. As in Bedgood II, the district court here properly

denied Defendant Space Coast Credit Union’s (“Space Coast’s”) motion

to compel arbitration against both Merrit Island Woodwerx, LLC

(“Woodwerx”) and True Touch Services, LLC (“True Touch”) for Space

Coast’s failure to comply with AAA’s policies, and AAA’s decision to

decline to arbitrate with any of Space Coast’s customers during that

default.

     Space Coast’s attempts to avoid application of Bedgood II go

nowhere. For example, as the district court correctly found, as in

Bedgood II, AAA was “available” to administer the arbitration here, but


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for Space Coast’s default in failing to comply with AAA’s policies. Thus,

Plaintiffs were not required to seek out another arbitrator under the

“unavailability clause.” Moreover, even if the “unavailability clause”

applied, the district court correctly held it would give Plaintiffs the

right to choose the forum for dispute resolution, and Plaintiffs chose the

district court, not arbitration. Likewise, the district court rightly

rejected Space Coast’s argument that it was not in default and, as in

Bedgood II, the district court accepted the AAA’s finding to the

contrary, given Space Coast’s admitted failure to comply with the AAA’s

policies. Finally, Space Coast misrepresents Bedgood II’s application to

True Touch, which relied on AAA’s letter to Woodwerx indicating that

AAA would decline to arbitrate disputes with any of Space Coast’s

customers. Contrary to Space Coast’s argument, Bedgood II expressly

holds that in such circumstances a customer like True Touch is not

required to engage in the futile act of filing for arbitration only to be

rejected, but can instead proceed directly in court. As in Bedgood II, this

Court should affirm the district court’s order denying Space Coast’s

motion to compel arbitration.




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                   STATEMENT OF THE ISSUES

     1.    As in Bedgood II, did the district court correctly deny Space

Coast’s motion to compel arbitration where AAA declined to administer

arbitration with any of Space Coast’s customers because Space Coast

failed to comply with AAA’s policies and where the AAA Rules that

Space Coast chose provide that the parties are free to sue in court in

such circumstances?

                     STATEMENT OF THE CASE

I.   Space Coast’s arbitration agreement expressly
     incorporates AAA’s Rules.

     At all relevant times, Woodwerx and True Touch were credit

union members of Space Coast. Doc. 8 at 2, ¶¶ 6–7. In January 2020,

Space Coast amended its standard form account agreements to include

an arbitration agreement (the “Arbitration Agreement”). Doc. 25 at 5, ¶

15. The Arbitration Agreement required arbitration at the American

Arbitration Association (“AAA”) under the AAA’s Consumer Arbitration

Rules (the “Rules”). Doc. 25 at 7, ¶ 18 & Doc. 25-8 at 8, ¶ 37 (the

“Arbitration Agreement”).




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II.   AAA’s Rules warn that if a business does not notify AAA 30
      days before implementing a AAA arbitration agreement
      then AAA may decline to arbitrate and that any party may
      instead seek resolution in court.

      On page 8 of AAA’s Rules, AAA makes clear that if a business

wishes to use AAA or its Rules then—“at least 30 days prior to the

planned effective date of the [business’s arbitration] program”—the

business should:

      “• notify the [AAA] of its intention to do so, and

      • provide the [AAA] with a copy of the consumer dispute
        resolution plan”

Doc. 38 at 1, ¶ 2 & Doc. 38-1 at 9 § Notification (the “AAA Notification

Provision”). AAA expressly warns that “[i]f a business does not comply

with this requirement, the [AAA] reserves the right to withhold its

administrative services.” AAA Notification Provision, Doc. 38-1 at 9

(emphasis added).

      In addition, Rule 1(d) of the AAA’s Rules provides:

      Should the AAA decline to administer an arbitration, either
      party may choose to submit its dispute to the appropriate court
      for resolution.

Doc. 38 at 1, ¶ 2 & Doc. 38-1 at 11, Rule 1(d) (emphasis added).




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III. Space Coast failed to notify AAA about Space Coast’s
     Arbitration Agreement for over three years after its
     implementation.

      Despite AAA’s clear requirements for notification to AAA at least

30 days before implementing an agreement in which AAA is named as

arbitrator or AAA Rules are used, Space Coast failed to provide AAA

with any prior notice and failed to register or provide its Arbitration

Agreement to AAA before the Arbitration Agreement became effective

in January 2020. Doc. 25 at 5, ¶ 15 & Doc. 38-4 at 1–2 (the “AAA

Declination Letter”).

IV.   AAA declined to administer an arbitration under Space
      Coast’s Arbitration Agreement due to Space Coast’s failure
      to comply with AAA’s policies, and AAA informed the
      parties they could seek resolution in court.

      On March 27, 2023, Woodwerx attempted to comply with Space

Coast’s Arbitration Agreement and filed a demand for arbitration

against Space Coast with AAA. Doc. 38-2. However, over three years

after Space Coast added its AAA Arbitration Agreement, Space Coast

still had not notified AAA of Space Coast’s Arbitration Agreement nor

provided it to AAA for review and registration. AAA Declination Letter,

Doc. 38-3 at 1–2. And, even though Space Coast was served with

Woodwerx’s March 27, 2023 arbitration demand, Doc. 38 at 1, ¶ 3 &

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Doc. 38-2 at 1-2, Space Coast did not reach out to AAA or do anything to

register its clause or pay the required AAA fees before receiving the

AAA Declination Letter. Doc. 26 at 2, ¶¶ 3–4.

     Having heard nothing from Space Coast, on April 20, 2023, the

AAA sent a letter to Woodwerx’s counsel and to Space Coast, declining

to administer the arbitration. AAA Declination Letter, Doc. 38-3 at 1–2.

The letter explained that “Prior to the filing of this arbitration, Space

Coast Credit Union failed to comply with the AAA’s policies regarding

consumer claims . . . . Accordingly, we must decline to administer this

claim and any other claims between Space Coast Credit Union and its

consumers at this time.” Id., Doc. 38-3 at 1. The letter went on to

explain that: “According to R-1(d) of the Consumer Rules, should the

AAA decline to administer an arbitration, either party may choose to

submit its dispute to the appropriate court for resolution.” Id., Doc. 38-3

at 1 (emphasis added). And the letter informed Space Coast that if it

later came into compliance, “the AAA may consider at its sole

discretion, accepting newly filed consumer cases going forward.” Id.,

Doc. 38-3 at 1 (emphasis added).




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V.   Plaintiffs filed this action in the district court.

     Having received the AAA Declination Letter, on June 7, 2023,

Woodwerx, joined by True Touch, filed a class action complaint in the

district court, Doc. 1, followed by an amended class action complaint six

days later, Doc. 8. The amended class action complaint alleges that

Space Coast breached its contracts, was unjustly enriched, and violated

the Electronic Funds Transfer Act when it charged thousands of

members: (1) $30 overdraft fees on debit card transactions that did not

overdraw their accounts (“APSN Fees”); and (2) $30 fees in

circumstances where another fee (not a transaction) overdrew an

account. Doc. 8 at 1, 21–25, ¶¶ 1, 102–35. The Chairman of the National

Credit Union Administration (“NCUA”) has called the practice of

charging APSN Fees “antithetical to the purpose of credit unions,

detrimental to members, and inconsistent with the credit union

system’s statutory mission of meeting the credit and savings needs of

consumers, especially those of modest means.” NCUA, NCUA Chairman

Todd M. Harper Remarks at the Indiana Credit Union League (May

2023), https://ncua.gov/newsroom/speech/2023/ncua-chairman-todd-m-

harper-remarks-indiana-credit-union-league (last visited Apr. 25, 2024).


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VI.   The district court correctly denied Space Coast’s motion to
      compel arbitration.

      Over 6 weeks after the filing of the complaint, on July 24, 2023,

Space Coast came into compliance with AAA’s policies, and AAA

informed Space Coast that its arbitration clause was registered. Doc.

38-4. AAA’s letter said nothing about the arbitration AAA previously

had declined. Id.

      On August 14, 2023, even though AAA had declined to administer

arbitration due to Space Coast’s failure to comply with AAA Rules and

had informed the parties that “either party may choose to submit its

dispute to the appropriate court for resolution,” Space Coast moved to

compel arbitration. Doc. 24.

      After full briefing, Docs. 24, 37, 46, the district court, relying in

part on its own prior decision in similar circumstances in Bedgood v.

Wyndham Vacation Resorts, Inc. (Bedgood I), 595 F. Supp. 3d 1195

(M.D. Fla. 2022), denied the motion to compel arbitration. Merritt

Island Woodwerx, LLC v. Space Coast Credit Union, No. 6:23-cv-1066-

PGB-DCI, 2023 WL 8699470, at *8 (M.D. Fla. Dec. 15, 2023), Doc. 49.

The district court accepted AAA’s conclusion that Space Coast had

defaulted by failing to comply with AAA’s policies and pointed to AAA’s

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letter declining to administer any arbitration between Space Coast and

its customers. Id. at *3. The district court found absolutely no factual

basis for Space Coast’s “bald[ ] claim[ ]” that AAA’s declination was

improper or in error and, in response to Space Coast’s attacks on the

AAA, cautioned Space Coast that its “[r]ecklessly false assertions of

impropriety risk running afoul of Federal Rule of Civil Procedure 11

and the Court strongly advises Space Coast to exercise greater caution

in future proceedings.” Id. at *7 n.4.

     As the district court explained: “Having written the terms of the

Arbitration Agreement, Space Coast cannot credibly claim it was

unfamiliar with the AAA’s requirements.” Id. at *7. The Court noted

that “Space Coast failed to take the steps necessary for arbitration to be

had by failing to submit the Arbitration Agreement for pre-dispute

review and pay the associated fee,” and that Space Coast had not done

so even after receiving the arbitration demand from Plaintiffs. Id.

     The district court also rejected Space Coast’s arguments that

there was any conflict between Space Coast’s Arbitration Agreement

and AAA’s Rules, noting that “Space Coast’s attempt to invent a conflict

is unconvincing.” Id. at *6. The district court then cited numerous cases


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holding that “general promises to exclusively arbitrate disputes will not

prevent a party from bringing their dispute in court when the opposing

party fails to comply with the forum’s policies.” Id. (collecting cases).

      The district court likewise rejected Space Coast’s argument that

AAA was “unavailable” and that a different arbitrator should have been

appointed. Id. at *7. First, the district court held that, “[i]n reality, the

AAA was available to arbitrate disputes,” but for Space Coast’s default

in failing to comply with AAA’s rules. Id. Second, the district court held

that, even if AAA was “unavailable,” the terms of the Arbitration

Agreement provide that in case of unavailability Plaintiffs “can select

the forum for resolution of the claims,” and therefore Plaintiffs had the

contractual right to select the district court as the forum for the parties’

dispute. Id.

      The district court concluded its analysis by holding that Space

Coast had waived any right to arbitration by acting inconsistently with

any right to arbitrate by failing to timely take the steps necessary to

comply with AAA’s policies. Id. at *7–8.




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                  SUMMARY OF THE ARGUMENT

     This case is governed by Bedgood II, 88 F.4th 1355. In Bedgood II,

this Court affirmed this same district judge’s order denying a motion to

compel arbitration where AAA declined to administer an arbitration

filed by one of the plaintiffs because certain defendants failed to comply

with AAA’s policies. This Court also affirmed denial of the motion to

compel arbitration as to plaintiffs who had not initiated arbitration

where, as here, those parties could rely on AAA’s statement that it

would not administer any arbitration between the business and its

customers at the relevant time.

     The district court properly rejected each argument Space Coast

raises in its attempt to avoid Bedgood II. And to the extent that Space

Coast attempts for the first time on appeal to introduce new arguments

and wholly new “evidence,” its attempt is both improper and fails to

overcome that, under Bedgood II, the district court properly denied the

motion to compel arbitration. This Court should affirm.

                        STANDARD OF REVIEW

     Review of an order denying a motion to compel arbitration is de

novo, Jones v. Waffle House, Inc., 866 F. 3d 1257, 1263 (11th Cir. 2017),


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but factual findings by the district court are reviewed only for clear

error, Multi-Fin. Secs. Corp. v. King, 386 F.3d 1364, 1366 (11th Cir.

2004). “[A] court may not devise novel rules to favor arbitration over

litigation.” Morgan v. Sundance, Inc., 596 U.S. 411, 418 (2022). And this

Court lacks jurisdiction to hear any interlocutory appeal of a failure to

appoint a substitute arbitrator. Bedgood II, 88 F.4th at 1367–68.

                              ARGUMENT

I.   Under this Court’s holding in Bedgood II, the Court should
     affirm the district court’s order denying Space Coast’s
     motion to compel arbitration because Space Coast was in
     default and was not aggrieved by any failure to arbitrate.

     This appeal is easily resolved by a straightforward application of

this Court’s recent opinion in Bedgood II, in which this Court affirmed

denial of a motion to compel arbitration by the same district court judge

under materially identical facts. In Bedgood II, one group of plaintiffs

filed a demand for arbitration with AAA against one defendant, referred

to as “Resorts.” AAA then sent a letter declining to administer the

arbitration because Resorts “failed to comply with the AAA’s policies”

by failing to have registered its clause with AAA. Id. at 1359. “In view

of Resorts’ non-compliance, the AAA ‘decline[d] to administer [each

purchaser’s] claim and any other claims between [Resorts] and its

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consumers at this time’ and thus instructed the purchasers that they

could ‘submit [their] dispute[s] to the appropriate court for resolution.’”

Id. (alterations original) (citing letter from AAA).

        A class action was then filed in district court on behalf of: (1) the

plaintiffs who had originally sought to arbitrate against Resorts only to

have AAA decline to administer the arbitration (the “Group 1

Plaintiffs”); (2) plaintiffs who never formally submitted their claims

against Resorts to AAA, but whose agreements with Resorts contained

identical arbitration provisions (the “Group 2 Plaintiffs”); and (3)

plaintiffs who had an agreement with a different, non-Resorts

defendant (the “Group 3 Plaintiffs”). Id. The district court denied the

motion to compel as to all three groups. Bedgood I, 595 F. Supp. 3d

1195.

        On appeal, this Court affirmed that denial as to the Group 1 and

Group 2 Plaintiffs—plaintiffs who had sought arbitration and been

declined by AAA and plaintiffs with arbitration agreements with

Resorts that were materially identical to the agreements AAA had

declined to administer. Bedgood II, 88 F.4th at 1359.




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      Specifically, this Court affirmed that “Resorts’ failure to comply

with the rules of its chosen arbitral forum renders the remedies

specified in Sections 3 and 4 of the FAA unavailable to it,” namely the

remedies of an order staying litigation and compelling arbitration. Id. at

1362. Therefore, this Court held that the plaintiffs “may proceed to

litigation.” Id.

      In explaining its reasoning, this Court held that AAA’s “Rules

make clear that the determination whether a party has complied with

the AAA’s policies is an administrative decision that can and should be

made by the AAA.” Id. at 1364. The Court determined that “the AAA

administrator was within its prerogative to determine that [defendant]

was out of compliance with [AAA’s] policies.” Id. The Court specifically

rejected Resorts’ argument that AAA was not permitted to give a

general conclusion and that AAA needed to provide specificity. Id. at

1365. And this Court affirmed that “[t]he district court’s ensuing

reliance on that determination to conclude that Resorts was ‘in default’

with the forum was not improper.” Id. As, such, this Court affirmed the

district court’s conclusion that Resorts was “in default” and therefore

not entitled to relief under Section 3 of the FAA.


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      Similarly, this Court affirmed that Resorts was not “[a] party

aggrieved by the alleged failure, neglect, or refusal of another to

arbitrate,” as is required for relief under Section 4 of the FAA. Id. at

1366. The Court reached this conclusion because (1) the Group 1

Plaintiffs had not “failed, neglected or refused” to arbitrate, but had

instead filed for arbitration only to have AAA decline administration

because of Resorts’ failure to follow AAA policy; and (2) Resorts was not

“a party aggrieved” by the Group 2 Plaintiffs because it would have

been futile for them to seek arbitration when AAA’s declination letter

indicated that AAA was declining to administer arbitration of the

Group 1 Plaintiffs’ claims “and any other claims between [Resorts] and

its consumers at this time.” Id. at 1367. As this Court explained, “To the

extent that Resorts is aggrieved, it was aggrieved either by its own

failure to bring its arbitration clause into compliance with AAA policies

or, at the very least, by the AAA’s decision to that effect, not the Group

(2) plaintiffs’ conduct.” Id.

      Finally, this Court concluded that it lacked jurisdiction to hear

any appeal that the district court had erred in refusing to appoint a

substitute, non-AAA arbitrator under Section 5 of the FAA. Id. The


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Court held that “[t]he FAA ‘carves out exceptions to the general rule

allowing review of some’—but, importantly, not all—‘interlocutory

orders,’” and that only decisions under Sections 3 and 4 were reviewable

on interlocutory appeal, but not decisions regarding appointment of a

substitute arbitrator under Section 5. Id.

     Bedgood II applies here. In this case, as in Bedgood II, Space

Coast failed to comply with AAA’s policies—as determined by the AAA

itself. AAA Declination Letter, Doc. 38-3. As this Court explained in

Bedgood II, AAA’s “Rules make clear that the determination whether a

party has complied with the AAA’s policies is an administrative decision

that can and should be made by the AAA.” Bedgood II, 88 F.4th at 1364.

AAA’s Rules expressly informed Space Coast that if Space Coast failed

to give notice to AAA and provide its clause within 30 days before

implementation, “the [AAA] reserves the right to withhold its

administrative services,” AAA Notification Provision, Doc. 38-1 at 9,

and that “[s]hould the AAA decline to administer an arbitration, either

party may choose to submit its dispute to the appropriate court for

resolution,” Doc. 38-1 at 11, Rule 1(d).




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     Here, AAA determined that “[p]rior to the filing of this arbitration,

Space Coast Credit Union failed to comply with the AAA’s policies

regarding consumer claims.” Doc. 38-3. Pursuant to the power it

reserved for such situations, AAA “decline[d] to administer this claim

and any other claims between Space Coast Credit Union and its

consumers at this time.” Id. Like Resorts in Bedgood II, here, Space

Coast’s “failure to comply with the rules of its chosen arbitral forum

renders the remedies specified in Sections 3 and 4 of the FAA

unavailable to it.” 88 F.4th at 1362. And “[t]he district court’s ensuing

reliance on that [AAA] determination to conclude that [Space Coast]

was ‘in default’ with the forum was not improper.” Id. at 1364. A party

“in default,” such as Space Coast, cannot obtain relief under Section 3 of

the FAA. Id.

     Similarly, like Resorts in Bedgood II, here, Space Coast cannot

show that the two prerequisites required for relief under Section 4 of

the FAA are met. As in Bedgood II, Space Coast is not a party aggrieved

by another’s failure, neglect, or refusal to arbitrate. That is because, as

in Bedgood II, Woodwerx did not fail, neglect, or refuse to arbitrate—it

filed for arbitration at AAA, only to have AAA decline to administer the


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arbitration due to Space Coast’s failures to comply with AAA’s policies.

Likewise, as in Bedgood II, Space Coast is not “a party aggrieved” by

True Touch because AAA stated that it would refuse to arbitrate, not

just Woodwerx’s claims, but “any other claims between Space Coast

Credit Union and its consumers at this time.” Doc. 38-3. Like in

Bedgood II, “[t]o the extent that [Space Coast] is aggrieved, it was

aggrieved either by its own failure to bring its arbitration clause into

compliance with AAA policies or, at the very least, by the AAA’s

decision to that effect, not the [Woodwerx and True Touch] plaintiffs’

conduct.” 88 F.4th at 1367.

     Finally, like in Bedgood II, this Court lacks appellate jurisdiction

to consider any argument by Space Coast that the district court erred

by not appointing a substitute arbitrator under Section 5 of the FAA.

Moreover, as set forth below, this is not a circumstance in which

appointing a substitute arbitrator is required.

     In short, under a straightforward application of Bedgood II, this

Court should affirm the district court.




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II.   Each of Space Coast’s attempts to avoid application of
      Bedgood II fail.

      Much of Space Coast’s Opening Brief is little more than a request

for the Court to overturn or disregard Bedgood II. But “[u]nder [the

Eleventh Circuit’s] prior precedent rule, a panel cannot overrule a prior

one’s holding even [if] convinced it is wrong.” Andrews v. Biggers, 996

F.3d 1235, 1236 (11th Cir. 2021) (quoting United States v. Steele, 147

F.3d 1316, 1317–18 (11th Cir. 1998) (en banc)). In other words, “the

holding of the first panel to address an issue is the law of [the Eleventh]

Circuit, thereby binding all subsequent panels unless and until the first

panel’s holding is overruled by the Court sitting en banc or by the

Supreme Court.” Smith v. GTE Corp., 236 F.3d 1292, 1300 n.8 (11th

Cir. 2001).

      Here, Bedgood II controls. And to the extent that Space Coast

tries to distinguish Bedgood II, its efforts go nowhere.

      A.      AAA was not “unavailable” and, even if it was, AAA’s
              unavailability gave Plaintiffs the right under the
              Arbitration Agreement to choose the district court as
              the forum for dispute resolution.

      First, Space Coast attempts to distinguish Bedgood II by arguing

that unlike in Bedgood II, here, Space Coast’s Arbitration Agreement

contains an “unavailability clause.” Opening Br. 4, 13, 23–24, 29–31.
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But the district court properly held that (1) the unavailability clause

does not apply because AAA was available but for Space Coast’s default

in failing to comply with AAA’s policies; and (2) even if the

unavailability clause applied, its terms gave Plaintiffs the right to

choose any forum they wished, including the district court, where

Plaintiffs filed suit.

      The “unavailability clause” provides in relevant part:

      If AAA is unavailable to resolve the Claims, and if you and we
      do not agree on a substitute forum, then you can select the
      forum for the resolution of the Claims.

Doc. 25-8 at 8 § 37(a). The district court’s rejection of Space Coast’s

argument on this point on two grounds cannot be any clearer. As the

district court correctly explained:

      Space Coast is also under the impression its noncompliance
      only made the AAA “unavailable” as a forum, rather than
      constituted a default. (Doc. 24, p. 15; Doc. 46, p. 3). If the AAA
      is “unavailable” to resolve the claims, “and if [Plaintiffs] and
      [Space Coast] do not agree on a substitute forum, then
      [Plaintiffs] can select the forum for the resolution of the
      claims,” according to the Arbitration Agreement. (Doc. 8-1, §
      37(a)). Space Coast contends the provision allows Plaintiffs to
      choose a substitute arbitral forum only. (Doc. 24, p. 15; Doc.
      46, p. 3). On the other hand, Plaintiffs assert the
      unavailability provision allows them to choose any substitute
      forum, including a court. (Doc. 37, pp. 12–13).



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     In reality, the AAA was available to arbitrate disputes. As
     Plaintiffs note, this Court previously held that an arbitral
     forum is unavailable “when it no longer exists or does not even
     handle private arbitrations,” not “for merely refusing to
     arbitrate an agreement,” as the AAA did here. Bedgood, 595
     F. Supp. 3d at 1202 n.12. But even assuming the AAA were
     unavailable, Space Coast’s contract interpretation would not
     prevail. Under Florida law, a contract provision is ambiguous
     where it is susceptible to more than one rational
     interpretation and any ambiguity must be construed against
     the drafter. City of Homestead v. Johnson, 760 So. 2d 80, 84
     (Fla. 2000). As demonstrated by the parties’ arguments, the
     unavailability provision is susceptible to two different
     rational interpretations—with the general promise to
     arbitrate supporting Space Coast’s view, and the “essential
     term” that the AAA administer it supporting Plaintiffs’
     view—and Space Coast drafted it, so Plaintiffs’ reading would
     win out.

Merritt Island Woodwerx, 2023 WL 8699470, at *7 (emphasis in

original). Thus, the district court correctly found the “unavailability

clause” inapplicable, but also that applying it would favor Plaintiffs, not

Space Coast.

     The district court’s interpretation also makes sense—no party

would reasonably expect that the other party could in good faith take

advantage of an unavailability clause by causing the unavailability of

the AAA through failing to comply with AAA policies incorporated into

the parties’ agreement. And by incorporating the AAA’s Rule 1(d) and

12, which provides that even though the AAA is available to arbitrate a

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dispute it may decline to do so, the parties specifically contemplated

circumstances in which the failure to comply with AAA’s Rules could

lead to access to court. Space Coast’s alternative interpretation

impermissibly ignores all of the contract provisions and inexplicably

would reward a defaulting party.

      That is why numerous courts hold that “general promises to

exclusively arbitrate disputes will not prevent a party from bringing

their dispute in court when the opposing party fails to comply with the

forum’s policies.” Merritt Island Woodwerx, 2023 WL 8699470, at *6

(collecting cases).

      And, as the district court correctly held, to the extent the

unavailability clause applies, and it does not, it requires affirming the

district court as the unavailability of AAA would nonetheless leave

Plaintiffs to choose any “forum” for dispute resolution, not limited to

arbitration. See Forum, Merriam-Webster.com Dictionary,

https://www.merriam-webster.com/dictionary/forum (defining “forum”

as “a judicial body or assembly: COURT”) (last visited Apr. 26, 2024).

      In addition, Space Coast’s citation to cases involving whether the

choice of a particular arbitral forum is “integral” to an agreement to


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arbitrate misses the point. Opening Br. 31. The issue is not whether

any particular arbitral forum is integral, but whether—as AAA and the

district court held—Space Coast was in default by failing to take the

steps required to ensure arbitration would be had under the parties’

agreement.

     Moreover, to the extent Space Coast argues that the district court

erred in not appointing a substitute arbitrator under the “unavailability

clause,” this Court held in Bedgood II that there is no appellate

jurisdiction to review such a decision on an interlocutory basis, such as

here. 88 F.4th at 1367–68 (holding there was no jurisdiction and noting

that “[w]e needn’t resolve the Section 5 issue to reject Resorts’

contentions with respect to Sections 3 and 4, both of which are

resolvable by reference to statutory language and the AAA Consumer

Arbitration Rules alone”).

     B.    Space Coast’s attempts to portray its own default as a
           “clerical error,” “mistake,” and “AAA’s error” are
           unsupported by the record and the law.

     Second, Space Coast attempts to argue that it did not “default”

under Bedgood II by failing to follow AAA’s policies. Instead, Space

Coast mischaracterizes AAA’s decision to decline arbitration as “AAA’s


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error,” a “clerical error,” or a “mistake,” Opening Br. 1, 5, 43–49, rather

than what it was: a finding that Space Coast defaulted by “failing to

comply with the AAA’s policies regarding consumer claims,” Doc. 38-3

at 2. In Space Coast’s reimagining, Space Coast was entitled to sit on its

hands for over three years and not register its Arbitration Agreement

with AAA—never mind that AAA’s Rules clearly informed Space Coast

that, by failing to notify AAA 30 days before implementing its

Arbitration Agreement, AAA could choose to “withhold its

administrative services,” AAA Notification Provision, Doc. 38-1 at 9,

and that then customers could “submit its dispute to the appropriate

court for resolution,” id. at 11, Rule 1(d). The problem with Space

Coast’s attempt to transmute its default into AAA’s error is that it is

inconsistent with the record and the law.

     Indeed, the district court scolded Space Coast for its “bald[ ]” and

wholly unsupported argument that AAA improperly declined

arbitration in this case. As the district court stated:

     Nothing about the AAA’s declination was “improper[ ]” as
     Space Coast baldly claims. (Doc. 24, p. 2; Doc. 46, p. 5). As
     drafter of the Arbitration Agreement, Space Coast should be
     very familiar with a decade-old AAA rule that it incorporated
     into the contract regarding preconditions for administering
     arbitration. It admits it did not abide by the rule, and the AAA
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     could not be clearer that it will not administer arbitrations for
     those businesses that do not abide by the rule policies and pay
     their annual fees. . . . Recklessly false assertions of impropriety
     risk running afoul of Federal Rule of Civil Procedure 11 and
     the Court strongly advises Space Coast to exercise greater
     caution in future proceedings.

Merritt Island Woodwerx, 2023 WL 8699470, at *7 n.4 (emphasis

added).

     But rather than heed the district court’s advisement, on appeal,

Space Coast doubles down and goes further by making unsupported

arguments it never made below and by attempting to inject new and

unauthenticated evidence and other matters outside the record, all in

support of its flawed argument. Across pages of its Opening Brief, Space

Coast argues for the first time on appeal, and without any record

support, that “[m]any businesses overlook the AAA’s” notice

requirement and that “[t]ypically, if a provision is not registered prior to

the filing of an arbitration demand, the AAA will send a letter

informing the business” and “[t]he business is then ordinarily given a

deadline by which to complete submission and payment.” Opening Br.

10–13. Space Coast then, for first time on appeal, tries to introduce,

through a hyperlinked webpage, an unauthenticated letter from 2021

that it claims, without evidence, is “an example of the form letter sent

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to entities that haven’t pre-registered their clauses.” Opening Br. 12

n.4. Of course, all of this is highly inappropriate on appeal, and none of

these arguments were before the district court. 1 Likewise, there is no

evidence in the record for Space Coast’s lawyers’ arguments (made for

the first time on appeal) that it was Space Coast’s “reasonable

understanding” that it could wait for over three years to notify the AAA

or to attempt to register its clause and pay the required fees and that

Space Coast was “shocked” when AAA declined to arbitrate the

agreement that went unregistered in violation of AAA policy for over

three years. Space Coast also fails to identify any evidence in the record

explaining how it was reasonable for Space Coast to understand it could

continue its violation of AAA’s notification and registration

requirements even after it received Woodwerx’s demand for arbitration.

     But, even worse for Space Coast, none of its new conjecture

refutes the evidence that is in the record and that shows Space Coast

defaulted under Bedgood II. There is no getting around that on page 8


     1 Space Coast’s inclusion of a screenshot that is not in the record

purportedly from a website that is not in the record, Opening Br. 15–16,
all of which are without authentication, is likewise impermissible and
inappropriate on appeal. At the very least, the Court should disregard
such violations of the appellate rules.
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of AAA’s Rules, AAA informed Space Coast that, if Space Coast failed to

give AAA notice regarding its Arbitration Agreement 30 days before its

implementation, AAA retained “the right to withhold its administrative

services,” which is exactly what AAA chose to do. AAA Notification

Provision, Doc. 38-3 at 9. Space Coast chose to incorporate AAA’s Rules

into its Arbitration Agreement and as a matter of law Space Coast has

knowledge of the terms of its own contract. Allied Van Lines, Inc. v.

Bratton, 351 So.2d 344, 347–48 (Fla. 1977). Whether the standard is

intentional conduct or negligence does not matter—the undisputed

evidence is that Space Coast knowingly and intentionally chose not to

provide the pre-implementation notice required to AAA to ensure AAA

would administer any arbitration. In other words, Space Coast

knowingly took the very risk that materialized—that by failing to notify

AAA at least 30 days before implementing its Arbitration Agreement,

AAA might decline to administer the clause for failure to follow its

policies and that in such a case customers could seek a remedy in court.

Failing to comply with AAA’s policies is exactly the conduct that this

Court held constituted default in Bedgood II, and it does not matter

whether the failure was to register a non-compliant clause or to fail to


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give the required notice under the AAA Notification Provision—AAA

rightfully found non-compliance and that non-compliance is contrary to

and impeded any right to arbitration. The Court should treat the

Arbitration Agreement, incorporating AAA’s Rules, just as it would any

other agreement—Space Coast failed to comply with AAA’s policies

when it failed to register its clause knowing that doing so permitted

AAA to decline to arbitrate under the express power reserved in the

AAA Notification Provision. Doc. 38-3 at 9.

     Worse yet for Space Coast, under Bedgood II, it is AAA who had

the power to decide whether Space Coast had complied with AAA’s

policies, and it is undisputed that AAA concluded that Space Coast had

not complied. Bedgood II holds that the AAA’s “Rules make clear that

the determination whether a party has complied with the AAA’s policies

is an administrative decision that can and should be made by the AAA.”

88 F.4th at 1364. It is “the AAA administrator” who is “within its

prerogative to determine that [Space Coast] was out of compliance with

[AAA’s] policies.” Id. Under Bedgood II, no level of specificity was

required from the AAA. Id. at 1365. And, as in Bedgood II, “[t]he

district court’s ensuing reliance on that determination to conclude that


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[Space Coast] was ‘in default’ with the forum was not improper,”

particularly where Space Coast admitted that it had not notified AAA

within 30 days of implementing its Arbitration Agreement. Id.

     The AAA Administrator was within its authority to decline to

administer the arbitration for failure to notify AAA, without any

requirement to allow belated registration.2 Moreover, not only was AAA

permitted to decline the arbitration, Space Coast has failed to even

develop a record of its post-denial actions. The evidence shows that

Space Coast took no action in the face of Woodwerx’s arbitration

demand. Doc. 26 at 2, ¶¶ 3-4. While Space Coast says it emailed AAA

five days after receiving the AAA Declination Letter indicating that it

would like to proceed with arbitration, id. at 3, ¶ 5, Space Coast has not

provided that email nor any other evidence indicating Space Coast

attempted to register its Arbitration Agreement at that time. Nor has


     2 It makes no difference whether AAA may have exercised

discretion in other cases to excuse non-compliant conduct by other
parties, as Space Coast insinuates for the first time on appeal, with no
record evidence. There is no evidence that Space Coast was aware of
any such conduct, and, regardless, the fact remains that AAA retained
the right to decline administration for non-compliance, and that by
failing to comply with AAA’s policies Space Coast was taking a knowing
risk that AAA might decline to administer the arbitration and that the
customer could then proceed in court.
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Space Coast provided any other evidence regarding its attempt to later

register or the dates when those efforts were made. All the record

reflects is that on June 9, 2023—two days after Plaintiffs had filed their

complaint in the district court, over a month after AAA sent the

Declination Letter, and over two months after Woodwerx had first

demanded arbitration, Space Coast contacted AAA about registering its

clause, which registration was completed on July 24, 2023. Doc. 26 at 3,

¶¶ 6–7. Thus, Space Coast remained in default for quite some time—

over three years from when it originally implemented the Arbitration

Agreement, and several months after Woodwerx attempted to initiate

arbitration. That Space Coast eventually later registered its clause does

not overcome its default. Thomas N. Carlton Estate v. Keller, 52 So. 2d

131, 133 (Fla. 1951) (“When a party waives a right under a contract he

cannot, without the consent of his adversary, reclaim it.”). The district

court did not err in holding that Space Coast was in default and

therefore not entitled to relief. As in Bedgood II, the district court was

not bound by AAA’s conclusion, but it also was not error to rely upon it.




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     C.    Space Coast’s description of Bedgood II as it relates to
           True Touch misrepresents that case’s application to
           parties who have a materially identical arbitration
           clause with a party for whom AAA has declined to
           arbitrate due to a failure to comply with AAA’s
           policies.

     Finally, inexplicably, Space Coast argues that Bedgood II does not

apply to True Touch because only Woodwerx attempted to initiate

arbitration against Space Coast with AAA and was declined, while True

Touch relied on AAA’s letter to Woodwerx as meaning it was futile to

file for arbitration with AAA and so filing in court was permitted. But

this is exactly what Bedgood II held was proper.

     Here, the district court held that True Touch could rely on the

futility of demanding arbitration against Space Coast at AAA because

AAA’s letter to Woodwerx stated AAA would “decline to administer

[Woodwerx’s] claim and any other claims between Space Coast Credit

Union and its consumers at this time.” AAA Declination Letter, Doc. 38-

3.

     In its Opening Brief, Space Coast wrongly argues that “This

Court’s decision in Bedgood II did not adopt—and, in fact, is

inconsistent with—the district court’s ‘futility’ theory.” Opening Br. 53.

Space Coast then proceeds to analogize True Touch to the wrong group

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of plaintiffs in Bedgood II, plaintiffs who sued a different defendant

against whom AAA had never declined to arbitrate.

     To unscramble, Space Coast’s flawed explanation of Bedgood II: as

discussed above, in Bedgood II there were three different groups of

plaintiffs: (1) Group 1 Plaintiffs had demanded arbitration against

Resorts, which AAA declined to administer, and then sued in court—

those plaintiffs are analogous here to Woodwerx; (2) Group 2 Plaintiffs

had not demanded arbitration at AAA but sued Resorts in court under a

futility theory because their arbitration clauses with Resorts were

materially identical to the Group 1 Plaintiffs for whom AAA had

declined to arbitrate against Resorts—those plaintiffs are analogous

here to True Touch; and (3) Group 3 Plaintiffs did not sue Resorts at all

but who sued a different defendant for whom AAA had never declined

arbitration—none of the Plaintiffs here are like this group.

     Space Coast falsely portrays True Touch as being similar to a

Group 3 Plaintiff, but it is clearly analogous to the Group 2 Plaintiffs in

Bedgood II. As in Bedgood II, True Touch sued the same defendant

(Space Coast) as Woodwerx under the same Arbitration Agreement and

based on the AAA’s statement that it would decline to administer “this


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claim and any other claims between Space Coast Credit Union and its

consumers” under the unregistered clause. Doc. 38-3. And this Court

held in Bedgood II that a person in True Touch’s position could rely on

the futility of suing the same defendant for whom AAA had declined

arbitration. True Touch here is not suing a different defendant than

Woodwerx, which was the case for the Group 3 Plaintiffs in Bedgood II.

     Space Coast’s argument that True Touch had to show some intent

to arbitrate before suing in court, and that that intent was made futile

by learning of AAA’s denial as to Woodwerx, is bewildering. Opening

Br. 51–52. True Touch specifically pled in its complaint against Space

Coast on June 7, 2023, that Woodwerx had demanded arbitration and

that AAA had declined to arbitrate because of Space Coast’s failure to

comply with AAA’s policies, necessitating the filing of the complaint in

the district court. Doc. 1. True Touch even attached the AAA

Declination Letter. Doc. 1-6; Doc. 8-3. The undisputed evidence shows

that Space Coast’s arbitration clause remained unregistered for more

than a month after the complaint was filed. See Doc. 38-4.

     And contrary to Space Coast’s argument, there is no record

evidence that AAA would have arbitrated any claims by consumers


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before July 24, 2023, when it sent the letter informing Space Coast that

it had accepted its clause for registration. Id. To the contrary, the

evidence in the record indicates that AAA would decline to arbitrate

“any other claims between Space Coast Credit Union and its

consumers” unless “[p]rior to the filing of th[e] arbitration, Space Coast

. . . compl[ied] with the AAA’s policies regarding consumer claims.” Doc.

38-3 (emphasis added). The screenshot that Space Coast improperly

includes on page 16 of its brief is unauthenticated as to what it actually

represents, and it was never submitted or argued to the district court.

Simply put, True Touch here is in the exact same position as the Group

2 Plaintiffs in Bedgood II and therefore, as in Bedgood II, the district

court properly denied the motion to compel True Touch to arbitration

given the circumstances.

                             CONCLUSION

     Under Bedgood II, the Court should affirm the district court’s

order denying Space Coast’s Motion to Compel Arbitration.




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Dated: April 26, 2024                  Respectfully submitted,

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                    CERTIFICATE OF COMPLIANCE

        I certify that this brief complies with Fed. R. App. P. 32(a)(7)

because it contains 7,953 words. This brief complies with the typeface

requirements of Fed. R. App. P. 32(a)(5) and the type-style

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                       CERTIFICATE OF SERVICE

        I certify that on April 26, 2024, I electronically filed the foregoing

with the Clerk of the Court of the United States Court of Appeals for

the Eleventh Circuit by using the appellate CM/ECF system, which will

send a notice of electronic filing to all parties appearing in this matter.

Date:        April 26, 2024                /s/Vess A. Miller
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